Case 1:21-cv-00280-RC Document 9-1 Filed 02/05/21 Page 1 of 6




              EXHIBIT A
                            Case 1:21-cv-00280-RC Document 9-1 Filed 02/05/21 Page 2 of 6
                                                                                                                                     73185

     Federal Register                                    Presidential Documents
     Vol. 85, No. 222

     Tuesday, November 17, 2020



     Title 3—                                            Executive Order 13959 of November 12, 2020

     The President                                       Addressing the Threat From Securities Investments That Fi-
                                                         nance Communist Chinese Military Companies

                                                         By the authority vested in me as President by the Constitution and the
                                                         laws of the United States of America, including the International Emergency
                                                         Economic Powers Act (50 U.S.C. 1701 et seq.) (IEEPA), the National Emer-
                                                         gencies Act (50 U.S.C. 1601 et seq.), and section 301 of title 3, United
                                                         States Code,
                                                         I, DONALD J. TRUMP, President of the United States of America, find
                                                         that the People’s Republic of China (PRC) is increasingly exploiting United
                                                         States capital to resource and to enable the development and modernization
                                                         of its military, intelligence, and other security apparatuses, which continues
                                                         to allow the PRC to directly threaten the United States homeland and United
                                                         States forces overseas, including by developing and deploying weapons of
                                                         mass destruction, advanced conventional weapons, and malicious cyber-
                                                         enabled actions against the United States and its people.
                                                         Key to the development of the PRC’s military, intelligence, and other security
                                                         apparatuses is the country’s large, ostensibly private economy. Through the
                                                         national strategy of Military-Civil Fusion, the PRC increases the size of
                                                         the country’s military-industrial complex by compelling civilian Chinese
                                                         companies to support its military and intelligence activities. Those compa-
                                                         nies, though remaining ostensibly private and civilian, directly support the
                                                         PRC’s military, intelligence, and security apparatuses and aid in their devel-
                                                         opment and modernization.
                                                         At the same time, those companies raise capital by selling securities to
                                                         United States investors that trade on public exchanges both here and abroad,
                                                         lobbying United States index providers and funds to include these securities
                                                         in market offerings, and engaging in other acts to ensure access to United
                                                         States capital. In that way, the PRC exploits United States investors to
                                                         finance the development and modernization of its military.
                                                         I therefore further find that the PRC’s military-industrial complex, by directly
                                                         supporting the efforts of the PRC’s military, intelligence, and other security
                                                         apparatuses, constitutes an unusual and extraordinary threat, which has
                                                         its source in substantial part outside the United States, to the national
                                                         security, foreign policy, and economy of the United States. To protect the
                                                         United States homeland and the American people, I hereby declare a national
                                                         emergency with respect to this threat.
                                                         Accordingly, I hereby order:
                                                         Section 1. (a) The following actions are prohibited:
                                                           (i) beginning 9:30 a.m. eastern standard time on January 11, 2021, any
                                                           transaction in publicly traded securities, or any securities that are deriva-
                                                           tive of, or are designed to provide investment exposure to such securities,
                                                           of any Communist Chinese military company as defined in section 4(a)(i)
                                                           of this order, by any United States person; and
                                                           (ii) beginning 9:30 a.m. eastern standard time on the date that is 60
                                                           days after a person is determined to be a Communist Chinese military
                                                           company pursuant to section (4)(a)(ii) or (iii) of this order, any transaction
                                                           in publicly traded securities, or any securities that are derivative of, or
                                                           are designed to provide investment exposure to such securities, of that
                                                           person, by any United States person.


VerDate Sep<11>2014   19:45 Nov 16, 2020   Jkt 253001   PO 00000   Frm 00001   Fmt 4705   Sfmt 4790   E:\FR\FM\17NOE0.SGM   17NOE0
                            Case 1:21-cv-00280-RC Document 9-1 Filed 02/05/21 Page 3 of 6
     73186            Federal Register / Vol. 85, No. 222 / Tuesday, November 17, 2020 / Presidential Documents

                                                           (b) Notwithstanding subsection (a)(i) of this section, purchases for value
                                                         or sales made on or before 11:59 p.m. eastern standard time on November
                                                         11, 2021, solely to divest, in whole or in part, from securities that any
                                                         United States person held as of 9:30 a.m. eastern standard time on January
                                                         11, 2021, in a Communist Chinese military company as defined in section
                                                         4(a)(i) of this order, are permitted.
                                                           (c) Notwithstanding subsection (a)(ii) of this section, for a person deter-
                                                         mined to be a Communist Chinese military company pursuant to section
                                                         4(a)(ii) or (iii) of this order, purchases for value or sales made on or before
                                                         365 days from the date of such determination, solely to divest, in whole
                                                         or in part, from securities that any United States person held in such
                                                         person, as of the date 60 days from the date of such determination, are
                                                         permitted.
                                                            (d) The prohibitions in subsection (a) of this section apply except to
                                                         the extent provided by statutes, or in regulations, orders, directives, or
                                                         licenses that may be issued pursuant to this order, and notwithstanding
                                                         any contract entered into or any license or permit granted before the date
                                                         of this order.
                                                         Sec. 2. (a) Any transaction by a United States person or within the United
                                                         States that evades or avoids, has the purpose of evading or avoiding, causes
                                                         a violation of, or attempts to violate the prohibitions set forth in this order
                                                         is prohibited.
                                                            (b) Any conspiracy formed to violate any of the prohibitions set forth
                                                         in this order is prohibited.
                                                         Sec. 3. (a) The Secretary of the Treasury, after consultation with the Secretary
                                                         of State, the Secretary of Defense, the Director of National Intelligence,
                                                         and the heads of other executive departments and agencies (agencies) as
                                                         deemed appropriate by the Secretary of the Treasury, is hereby authorized
                                                         to take such actions, including the promulgation of rules and regulations,
                                                         and to employ all powers granted to the President by IEEPA, to carry
                                                         out the purposes of this order. The Secretary of the Treasury may, consistent
                                                         with applicable law, redelegate any of these functions within the Department
                                                         of the Treasury. All agencies shall take all appropriate measures within
                                                         their authority to carry out the provisions of this order.
                                                            (b) Rules and regulations issued pursuant to this order may, among other
                                                         things, establish procedures to license transactions otherwise prohibited pur-
                                                         suant to this order. But prior to issuing any license under this order, the
                                                         Secretary of the Treasury shall consult with the Secretary of State, the
                                                         Secretary of Defense, and the Director of National Intelligence.
                                                         Sec. 4. Definitions. For purposes of this order:
                                                            (a) the term ‘‘Communist Chinese military company’’ means
                                                            (i) any person that the Secretary of Defense has listed as a Communist
                                                            Chinese military company operating directly or indirectly in the United
                                                            States or in any of its territories or possessions pursuant to section 1237
                                                            of Public Law 105–261, as amended by section 1233 of Public Law 106–
                                                            398 and section 1222 of Public Law 108–375, as of the date of this
                                                            order, and as set forth in the Annex to this order, until such time as
                                                            the Secretary of Defense removes such person from such list;
                                                           (ii) any person that the Secretary of Defense, in consultation with the
                                                           Secretary of the Treasury, determines is a Communist Chinese military
                                                           company operating directly or indirectly in the United States or in any
                                                           of its territories or possessions and therefore lists as such pursuant to
                                                           section 1237 of Public Law 105–261, as amended by section 1233 of
                                                           Public Law 106–398 and section 1222 of Public Law 108–375, until such
                                                           time as the Secretary of Defense removes such person from such list;
                                                           or
                                                           (iii) any person that the Secretary of the Treasury publicly lists as meeting
                                                           the criteria in section 1237(b)(4)(B) of Public Law 105–261, or publicly
                                                           lists as a subsidiary of a person already determined to be a Communist


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                            Case 1:21-cv-00280-RC Document 9-1 Filed 02/05/21 Page 4 of 6
                      Federal Register / Vol. 85, No. 222 / Tuesday, November 17, 2020 / Presidential Documents                      73187

                                                           Chinese military company, until the Secretary of the Treasury determines
                                                           that such person no longer meets that criteria and removes such person
                                                           from such list.
                                                           (b) the term ‘‘entity’’ means a government or instrumentality of such
                                                         government, partnership, association, trust, joint venture, corporation, group,
                                                         subgroup, or other organization;
                                                           (c) the term ‘‘person’’ means an individual or entity;
                                                            (d) the terms ‘‘security’’ and ‘‘securities’’ include the definition of ‘‘secu-
                                                         rity’’ in section 3(a)(10) of the Securities Exchange Act of 1934, Public
                                                         Law 73–291, as codified as amended at 15 U.S.C. 78c(a)(10), except that
                                                         currency or any note, draft, bill of exchange, or banker’s acceptance which
                                                         has a maturity at the time of issuance of not exceeding 9 months, exclusive
                                                         of days of grace, or any renewal thereof the maturity of which is likewise
                                                         limited, shall be a security for purposes of this order.
                                                            (e) the term ‘‘transaction’’ means the purchase for value of any publicly
                                                         traded security; and
                                                           (f) the term ‘‘United States person’’ means any United States citizen,
                                                         permanent resident alien, entity organized under the laws of the United
                                                         States or any jurisdiction within the United States (including foreign
                                                         branches), or any person in the United States.
                                                         Sec. 5. The Secretary of the Treasury, in consultation with the Secretary
                                                         of State and, as appropriate, the Secretary of Defense, is hereby authorized
                                                         to submit the recurring and final reports to the Congress on the national
                                                         emergency declared in this order, consistent with section 401(c) of the
                                                         NEA (50 U.S.C. 1641(c)) and section 204(c) of IEEPA (50 U.S.C. 1703(c)).
                                                         Sec. 6. General Provisions. (a) Nothing in this order shall be construed
                                                         to impair or otherwise affect:
                                                           (i) the authority granted by law to an executive department or agency,
                                                           or the head thereof; or
                                                           (ii) the functions of the Director of the Office of Management and Budget
                                                           relating to budgetary, administrative, or legislative proposals.
                                                           (b) This order shall be implemented consistent with applicable law and
                                                         subject to the availability of appropriations.




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                            Case 1:21-cv-00280-RC Document 9-1 Filed 02/05/21 Page 5 of 6
     73188            Federal Register / Vol. 85, No. 222 / Tuesday, November 17, 2020 / Presidential Documents

                                                           (c) This order is not intended to, and does not, create any right or benefit,
                                                         substantive or procedural, enforceable at law or in equity by any party
                                                         against the United States, its departments, agencies, or entities, its officers,
                                                         employees, or agents, or any other person.




                                                         THE WHITE HOUSE,
                                                         November 12, 2020.


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                            Case 1:21-cv-00280-RC Document 9-1 Filed 02/05/21 Page 6 of 6
                      Federal Register / Vol. 85, No. 222 / Tuesday, November 17, 2020 / Presidential Documents                      73189




     [FR Doc. 2020–25459

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